Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 1 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 2 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 3 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 4 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 5 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 6 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 7 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 8 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 9 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 10 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 11 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 12 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 13 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 14 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 15 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 16 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 17 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 18 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 19 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 20 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 21 of 22
Case 14-28280   Doc 24-3    Filed 04/28/15 Entered 04/28/15 16:14:17   Desc
                           mortgage Page 22 of 22
